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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Jeffrey W. Dulberg (CA State Bar No. 181200)
 Jeffrey P. Nolan (CA State Bar No. 158923)
 PACHULSKI STANG ZIEHL & JONES LLP
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910; Facsimile: (310) 201-0760
 Email: jpomerantz@pszjlaw.com, jdulberg@pszjlaw.com,
        jnolan@pszjlaw.com
     Debtor(s) appearing without an attorney
     Attorney to: Counsel to Bradley D. Sharp, Chapter 11
 Trustee for Estate of Leslie Klein
                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.:         2:23-bk-10990-SK
                                                                              CHAPTER: 11
 LESLIE KLEIN,




                                                                                       NOTICE OF MOTION FOR ORDER
                                                                                            WITHOUT HEARING
                                                                                        PURSUANT TO LBR 9013-1(o)



                                                                                          [No hearing unless requested in writing]
                                                               Debtor(s).


TO THE U.S. TRUSTEE AND ALL PARTIES IN INTEREST. PLEASE TAKE NOTICE THAT:

  1. Movant(s)    Bradley D. Sharp, Chapter 11 Trustee for Estate of Leslie Klein         , has filed a motion entitled
        Motion Of Chapter 11 Trustee, For Order Authorizing The Examination Of Barclays Bank Of Delaware Pursuant
     To Fed. R. Bankr. P. 2004; Memorandum Of Points And Authorities; Declarations Of Bradley D. Sharp, Nicholas R.
     Troszak And Jeffrey P. Nolan In Support Thereof


  2. Movant(s) is requesting that the court grant the motion without a hearing, as provided for in LBR 9013-1(o).

  3. The motion is based upon the legal and factual grounds set forth in the motion and briefly described in the attached
     description of relief sought. (Check appropriate box below):
             The full motion is attached hereto; or
             The full motion has been filed with the court, and a detailed description of the relief sought is attached hereto.

  4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
     LBR 9013-1(o), any party objecting to the motion may request a hearing on the motion. The deadline for filing and
     serving a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3



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        additional days if you were served by mail, electronically, or pursuant to F.R.Civ.P. 5(b)(2)(D), (E), or (F). If you fail
        to comply with this deadline, the court may treat such failure as a waiver of your right to oppose the motion and may
        grant the motion without further hearing and notice.



Date:      September 26, 2023                                                     Respectfully submitted,



                                                                                     /s/ Jeffrey P. Nolan
                                                                                  Signature of Movant or attorney for Movant


                                                                                     Jeffrey P. Nolan
                                                                                  Printed name of Movant or attorney for Movant




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Attachment (Detailed description of relief sought):

The Motion seeks the production of records maintained by third-party financial institutions memorializing the
facts surrounding the business and financial dealings of the Debtor. Numerous former clients of the Debtor
have filed complaints in which they allege monies were improperly diverted by the Debtor. The Debtor has
indicated he maintained no hard copies of financial records and minimal personal or business records, if any.




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                              10100 Santa Monica Blvd., 13th Floor, Los Angeles, CA 90067
           A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR ORDER
WITHOUT HEARING PURSUANT TO LBR 9013-1(o) will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
September 26, 2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) September 26, 2023 , I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.

Barclays Bank Delaware                                                       Barclays Bank Delaware Agent for Service of Process
125 S. West Street                                                           Corporation Service Company
Wilmington, DE 19801                                                         251 Little Falls Drive
                                                                             Wilmington, DE 19808


                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) September 26, 2023
    , I served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here
constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours
after the document is filed.

                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 9/26/23                Rolanda Mori                                                       /s/ Rolanda Mori
 Date                        Printed Name                                                      Signature




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ADDITIONAL SERVICE LIST:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
     Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
     Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
     Ron Bender rb@lnbyg.com
     Michael Jay Berger michael.berger@bankruptcypower.com,
        yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
       Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
       Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
       Theron S Covey tcovey@raslg.com, sferry@raslg.com
       Jeffrey W Dulberg jdulberg@pszjlaw.com
       Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
       Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
       Michael I. Gottfried mgottfried@elkinskalt.com,
        cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
       Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
       Michael S Kogan mkogan@koganlawfirm.com
       Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
       John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
       Ron Maroko ron.maroko@usdoj.gov
       Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
       Steven M Mayer smayer@mayerlawla.com
       Krikor J Meshefejian kjm@lnbyg.com
       Kenneth Misken Kenneth.M.Misken@usdoj.gov
       Jeffrey P Nolan jnolan@pszjlaw.com
       Eric J Olson eric@ejolsonlaw.com
       Jeffrey N Pomerantz jpomerantz@pszjlaw.com
       Brian A Procel bprocel@millerbarondess.com, rdankwa@millerbarondess.com;docket@millerbarondess.com
       Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
       Mark M Sharf (TR) mark@sharflaw.com,
        C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
       Bradley D. Sharp (TR) bsharp@dsi.biz
       Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
       Alan G Tippie Alan.Tippie@gmlaw.com,
        atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.com
       Gary Tokumori gtokumori@pmcos.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Michael L Wachtell mwachtell@buchalter.com
       John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
       Brett J. Wasserman wasserman@smcounsel.com
       Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
       Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
       Paul P Young paul@cym.law, jaclyn@cym.law
       Roye Zur rzur@elkinskalt.com,
        cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com


2. SERVED BY UNITED STATES MAIL:

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Nathan Talei
Oldman, Sallus & Gold, L.L.P.
16133 Ventura Blvd., PH-A
Encino, CA 91436

3.      SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL

Via Overnight Mail
Honorable Sandra Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012




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